                   Case 23-10253-KBO              Doc 125       Filed 04/26/23         Page 1 of 2




                         IN THE UNITED STATES BANKRUPTCY COURT
                              FOR THE DISTRICT OF DELAWARE

    In re:                                                    Chapter 7

    AKORN HOLDING COMPANY LLC,                                Case No. 23-10253 (KBO)
    et al 1
                    Debtors.                                  (Jointly Administered)

                                                              Hearing Date:           May 25, 2023 at 9:30 a.m. ET
                                                              Objection Date:         May 18, 2023 at 4:00 p.m. ET

     AMENDED2 NOTICE OF MOTION REGARDING TRUSTEE’S MOTION FOR (I)
    AUTHORITY TO SELL CERTAIN EQUIPMENT AT CRANBURY PROPERTY FREE
            AND CLEAR OF INTERESTS AND (II) RELATED RELIEF


          PLEASE TAKE NOTICE that George L. Miller, the chapter 7 trustee (the “Trustee”) of

    the estates (the “Estates”) of the above-captioned debtors (the “Debtors”) has filed the Trustee’s

    Motion for (I) Authority to Sell Certain Equipment at Cranbury Property Free and Clear of

    Interests and (II) Related Relief [Docket No. 120] (the “Motion”) with the United States

    Bankruptcy Court for the District of Delaware, 824 N. Market Street, 3rd Floor, Wilmington,

    Delaware 19801 (the “Bankruptcy Court”).

          PLEASE TAKE FURTHER NOTICE that objections, if any, for approval of the Motion

    must be made in writing and filed on or before May 18, 2023 at 4:00 p.m. (ET) (the “Objection

    Deadline”) with the Bankruptcy Court, 824 N. Market Street, 3rd Floor, Wilmington, Delaware

    19801. At the same time, you must serve a copy of the objection upon undersigned counsel for

    the Trustee so as to be actually received by the Objection Deadline.



1
      The Debtors in these chapter 7 cases, along with the last four digits of their federal tax identification numbers,
      and cases numbers are Akorn Holding Company LLC (9190), Case No. 23-10253 (KBO); Akorn Intermediate
      Company LLC (6123), Case No. 23-10254 (KBO); and Akorn Operating Company LLC (6184), Case No. 23-
      10255. The Debtors’ headquarters is located at 5605 CenterPoint Court, Gurnee, IL 60031.

2
      Amended to include hearing date and objection date.


LEGAL\63224554\1
                   Case 23-10253-KBO   Doc 125       Filed 04/26/23   Page 2 of 2




        PLEASE TAKE FURTHER NOTICE that if an objection is properly filed in accordance

 with the above procedures, a hearing on the Motion will be held on May 25, 2023 at 9:30 a.m.

 before The Honorable Karen B. Owens, at the United States Bankruptcy Court for the District of

 Delaware, 824 N. Market Street, 6th Floor, Courtroom No. 3, Wilmington, Delaware 19801. Only

 those objections made in writing and timely filed in accordance with the above procedures will

 be considered by the Bankruptcy Court at such hearing.

        PLEASE TAKE FURTHER NOTICE if no objections are timely filed in accordance

 with the above procedures, the undersigned shall file a Certification of No Objection. Upon the

 filing of the Certification of No Objection, the Court may enter an Order granting the relief

 requested in the Motion without further notice or a hearing.

 Dated: April 26, 2023                                    COZEN O’CONNOR


                                                    By:   /s/ John T. Carroll, III
                                                          John T. Carroll, III (DE No. 4060)
                                                          Simon E. Fraser (DE No. 5335)
                                                          1201 N. Market Street
                                                          Suite 1001
                                                          Wilmington, DE 19801
                                                          (302) 295-2000 Phone
                                                          (302) 295-2013 Fax No.
                                                          jcarroll@cozen.com
                                                          sfraser@cozen.com

                                                          David R. Doyle (IL ARDC 6303215)
                                                          (Admitted in IL/Not admitted in DE)
                                                          123 N. Wacker Drive
                                                          Suite 1800
                                                          Chicago, IL 60606
                                                          (312) 474-1648 Phone
                                                          (312) 382-8910 Fax No.
                                                          daviddoyle@cozen.com

                                                          Counsel to George L. Miller, Chapter 7
                                                          Trustee



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